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EXHIBIT 1

Form of Sale Notice

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)

In re: ) Chapter 11
)

ENERGY FUTURE HOLDINGS CORP., et al.,' ) Case No. 14-10979 (CSS)
)

Debtors. ) Gointly Administered)
)
NOTICE OF SALE

PLEASE TAKE NOTICE that, on April 29, 2014, the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of the
Bankruptcy Code, 11 U.S.C. §§ 101-1532.

PLEASE TAKE FURTHER NOTICE that, on [DATE], 2014, the United States Bankruptcy
Court for the District of Delaware (the “Court”) approved an Order Establishing Procedures to Sell,
Transfer, or Abandon Certain De Minimis Assets [Docket No. __] the (“Sale Order”), whereby the Court
authorized the Debtors to sell certain surplus, obsolete, non-core, unused, or burdensome assets
(collectively, the “De Minimis Assets”).

PLEASE TAKE FURTHER NOTICE that, pursuant to the Sale Order, the Debtors propose to
sell the De Minimis Assets as set forth and described on Exhibit A attached hereto (the “Sale Assets”).
Exhibit A identifies, for each Sale Asset, the purchaser, sale price, significant terms of any applicable
sale agreement, the marketing or sales efforts undertaken by the Debtors, and other relevant information.

[1f the De Minimis Asset sale price is greater than $1 million:

PLEASE TAKE FURTHER NOTICE that, pursuant to the Sale Order, any recipient of this
notice may object to the proposed sale within ten (10) calendar days of service of this notice. Objections
must: (i) be in writing; (ii) be received within ten (10) calendar days of service of this notice (the
“Objection Deadline”); and (iii) be submitted by mail or facsimile to counsel for the Debtors, Kirkland &
Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Brian Schartz (212) 446-4900
(facsimile). If you file a written objection with the Court by the Objection Deadline, the Debtors
may only sell the De Minimis Assets upon submission of a consensual form of order resolving the
objection as between you and the Debtors, or upon further order of the Court approving the sale or

transfer of such De Minimis Assets.]

1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted on an interim basis, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
of such information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.

